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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:89-cr-01018-MP

LAWRENCE EDWARD HILL,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 1201, Motion to Continue Revocation of

Supervised Release Hearing by Lawrence Edward Hill. The motion, which is unopposed, is

granted and the hearing is hereby reset for March 10, 2006 at 9:30 a.m.


       DONE AND ORDERED this 7th day of February, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
